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            5
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            7

            8                         UNITED STATES DISTRICT COURT
            9                       CENTRAL DISTRICT OF CALIFORNIA
        10      LES GAPAY, an individual,                   CASE NO.: 5:15-CV-2457
        11                          Plaintiff,
                                                            NOTICE OF REMOVAL OF
        12      v.                                          ACTION PURSUANT TO 28 U.S.C.
                                                            SECTIONS 1332 AND 1441(b)
        13      WAL-MART STORES, INC., a
                Corporation; DOES 1 through 100,
        14      inclusive,                                  Courtroom:
                                                            District Judge:
        15                          Defendants.             Magistrate Judge:
                                                            Complaint Filed:
        16                                                  Trial Date:
        17            TO: THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR
        18      THE CENTRAL DISTRICT, EASTERN DIVISION OF CALIFORNIA AND TO
        19      THE CLERK OF THAT COURT:
        20            PLEASE TAKE NOTICE that Defendant WAL-MART STORES, INC.
        21      (“Wal-Mart”), by and through its counsel, hereby removes that above-entitled
        22      action filed by Plaintiff Les Gapay in the Superior Court of the State of California,
        23      County of Los Angeles, Case No. BC 599853, to the Central District, Eastern
        24      Division of California pursuant to 28 U.S.C. §1441, and respectfully alleges as
        25      follows:
        26            1.     Jurisdiction of this action is founded upon 28 U.S.C. §§1332, 1441(a)
        27      and (b) as the matter in controversy exceeds the sum or value of $75,000, exclusive
        28      of interest and costs, and is between citizens of different states.
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            1           2.   On November 2, 2015, Plaintiff Les Gapay filed a civil action in the
            2   Superior Court of the State of California in and for the County of Los Angeles,
            3   entitled LES GAPAY Plaintiff v. WAL-MART STORES, INC., a Delaware
            4   Corporation, et. al. and DOES 1 to 100 INCLUSIVE, Case Number BC 599853
            5   (“Complaint”). The Complaint alleges that Plaintiff Les Gapay is and was at all
            6   times relevant herein and individual and citizen of California who resides in
            7   Riverside County, California. Attached to the Notice of Removal as Exhibit A, is a
            8   true and correct copy of Plaintiff’s Complaint, see at ¶ 19. The Complaint alleges
            9   the incident occurred at the Wal-mart Supercenter (Store #3259) and adjacent
        10      parking lot located at 3555 Mullan Road, Missoula, MT 59808 which were owned,
        11      operated, controlled, and maintained by Defendant Wal-Mart. Exhibit A,
        12      Complaint at ¶1 and 2. The Complaint further alleges that Wal-Mart is a
        13      corporation duly organized under the laws of Delaware with substantial contacts
        14      with the State of California and especially Los Angeles County, California. Exhibit
        15      A, Complaint at ¶ 20. Plaintiff through the Complaint alleges Wal-Mart was
        16      negligent and through that negligence Plaintiff sustained injuries.
        17              3.   Wal-Mart first received a copy of the said Complaint and Summons on
        18      November 3, 2015. Attached to the Notice of Removal as Exhibit B, is a true and
        19      correct copy of the state court summons served on Defendant on November 3,
        20      2015.
        21              4.   No proceedings have been had in the Los Angeles Superior Court, but
        22      a trial date of May 1, 2017 has been unilaterally set by the Court. Wal-Mart has not
        23      made any appearance in this matter as of the date of filing of this Notice.
        24              5.   Defendant was and is a corporation incorporated under the laws of the
        25      State of Delaware and having its principal place of business in the State of
        26      Arkansas and is currently the only Defendant in this action, and is therefore a
        27      citizen of the State of Delaware and State of Arkansas. Attached to the Notice of
        28      ///
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            1   Removal as Exhibit C is a true and correct copy of Defendant’s Corporate
            2   information from the California Secretary of State Business Portal.
            3         6.      Attached to the Notice of Removal as Exhibit D is a true and correct
            4   copy of Defendant’s corporate information from the Delaware Secretary of State.
            5         7.     This is a civil action over which this Court has original jurisdiction
            6   under 28 U.S.C. Section 1332, and is one which may be removed to this Court by
            7   Wal-Mart pursuant to the provisions of 28 U.S.C. Section 1441(b) in that it is a
            8   civil action between citizens of different states, the matter in controversy exceeds
            9   the sum of $75,000, exclusive of interest and costs, and the entirety of the events
        10      that give rise to this suit occurred in the State of Montana.
        11            8.     In Plaintiff’s complaint, he has alleged permanent blindness as the
        12      result of an assault by individuals not affiliated with Defendant in any way in
        13      Defendant’s parking lot. Plaintiff additionally claims he has undergone one surgery
        14      to his eye and will need another in the future, and is at a risk of permanent
        15      blindness in both eyes. Exhibit A, Complaint at ¶ 15.
        16            9.     Complete diversity of citizenship exists in that Plaintiff Les Gapay is a
        17      citizen of the State of California, County of Riverside, based on the Complaint
        18      which states PLAINTIFF LES GAPAY is and was at all times relevant herein and
        19      individual and citizen of California who resides in Riverside County, California.
        20      Exhibit A, Complaint at ¶ 19.
        21            10.    Attached hereto as Exhibit E is a true and correct copy of the on-line
        22      register of actions for this case from the Los Angeles Superior Court website.
        23            11.    Attached hereto as Exhibit F true and correct copies of the remaining
        24      documents listed on the on-line register of actions as follows:
        25                   a. Proof of Service/ Summons filed by Attorney for Plaintiff
        26            12.    Written notice of the filing of this Notice of Removal will be promptly
        27      served to Plaintiff. A true and correct copy of this Notice of Removal and the
        28      ///
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                                                                   NOTICE OF REMOVAL OF ACTION
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            1   concurrently-filed Notice of Interested Parties and Civil Cover Sheet will be filed in
            2   the Los Angeles Superior Court.
            3

            4         WHEREFORE, Defendant Wal-Mart Stores, Inc. further gives notice that the
            5   above-entitled action, now pending against it in the Superior Court for the State of
            6   California, County of Los Angeles, has been removed therefrom to this Court on
            7   the ground of diversity of citizenship.
            8

            9                                    PETTIT KOHN INGRASSIA & LUTZ PC
        10

        11      Dated: December 1, 2015          By:      /s/ Bron E. D’Angelo, Esq.
                                                          Bron E. D’Angelo, Esq.
        12                                                Attorneys for Defendant
                                                          WAL-MART STORES, INC.
        13                                                bdangelo@pettitkohn.com
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                  TABLE OF CONTENTS OF EXHIBITS
                          NOTICE OF REMOVAL


EXHIBIT                         DESCRIPTION                         PAGE

    A       Complaint filed in the Superior Court of the State of     5
            California in and for the County of Los Angeles, on
            November 2, 20105 in case number BC599853
    B       State Court Summons (Summons/Complaint served on          32
            Defendant on November 3, 2015)
    C       California Secretary of State Business Entity Detail      33
    D       Delaware Secretary of State Business Entity Detail        34
    E       Register of Actions (Case Summary) Los Angeles            35
            Superior Court in case number BC599853
    F       Proof of Service of Summons filed by Attorney for         36
            Plaintiff on November 6, 2015
